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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


DEREK LIND                                                                        PLAINTIFF

v.                                Case No. 4:12-cv-00588 KGB

ALLEN & WITHROW, Attorneys
At Law; TLO, LLC                                                              DEFENDANTS

                                            ORDER

       Based upon the Clerk’s minute entry for proceedings held before Magistrate Judge Joe J.

Volpe (Dkt. No. 34), the parties have reached an agreement in this action and read the agreement

into the record under seal. Accordingly, this action is hereby dismissed and removed from the

trial docket for the week of February 3, 2014.

       IT IS SO ORDERED this 10th day of January, 2014.




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                                                   KRISTINE G. BAKER
                                                   UNITED STATES DISTRICT JUDGE
